                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 JULIET JONES,
       Plaintiff,                                Case No. 1:24-37
 v.
 METRO ONE LOSS PREVENTION                       JURY TRIAL DEMANDED
 SERVICES GROUP, INC.
       Defendant.



                                 REQUEST TO ENTER DEFAULT

       To the Clerk of the U.C. District Court for the Middle District of Pennsylvania



       Please enter the default of the Defendant, Metro One Loss Prevention Services Group, Inc.,

for failure to plead or otherwise defend as provided by the Federal Rules of Civil Procedure as

appears from the affidavit of David M. Manes, Esq. attached hereto.




                                                 Respectfully Submitted,

                                                 /s/ David M. Manes__
                                                 David M. Manes, Esq.
                                                 PA ID: 314661
                                                 Manes & Narahari LLC
                                                 One Oxford Centre
                                                 301 Grant Street, Suite 270
                                                 Pittsburgh, PA 15219
                                                 (412) 626-5590 Direct
                                                 (412) 650-4845 Fax
                                                 dm@manesnarahari.com
